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November 30, 2017

Via Email

Magistrate Judge Martin C. Carlson

Ronald Reagan Federal Bldg. & U.S. Courthouse
228 Walnut Street

Harrisburg, PA 17108-0983

magistrate _judge_carlson@pamd.uscourts.gov

Re: Julie Ellen Wartluft f/k/a Julie Ellen Bartels and Frederick L. Bartels, Jr.,
Individually and as Administrators of the Estate of Abrielle Kira Bartels,

Deceased v. Milton Hershey School, et al.
Civil Action No. 1:16-cv-2145-CCC (M.D. Pa.)

Dear Judge Carlson:

We represent Defendants in the above-referenced action. Pursuant to the Court’s October
30, 2017 Order (Dkt. 98), enclosed please find a proposed Qualified Protective Order governing
the production of medical or mental health records, related documents, and the December 4,
2017, deposition of Leslie Davis. The parties and counsel for Pinnacle Health, and Ms. Davis all
concur with the proposed Qualified Protective Order.

Accordingly, we respectfully request that the Court enter the attached proposed Order.
We are, of course, available to discuss the proposed Order at the Court’s convenience. Thank
you for your timely consideration.

 

/kme

Enclosures
(via email)

ce: Jarad W. Handelman, Esquire
John DeLorenzo, Esquire
Gregory F. Cirillo, Esquire
John J, Higson, Esquire
Kevin J. Neary

 

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